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PROPOSED ATTORNEY FOR DEBTOR

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


IN RE                                                           §
                                                                §
KARIM & SHIRIN LALANI                                           §         CASE 19-42449
                                                                §
        DEBTOR                                                  §


                   RESPONSE TO FOR RELIEF FROM AUTOMATIC STAY

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:


        COMES NOW, Karim & Shirin Lalani , Debtor in the above styled and numbered cause,

and files this its Response to Motion of Nationstar Mortgage for Relief from Automatic Stay

(“Motion”) and in support thereof would respectfully show unto the Court as follows:

        1.      Debtor admits the allegations contained in paragraph 1 of the Motion.

        2.      Debtor admits the allegations contained in paragraph 2 of the Motion.

        3.      Debtor admits the allegations contained in paragraph 3 of the Motion.

        4.      Debtor admits the allegations contained in paragraph 4 of the Motion.

        5.      Debtor admits the allegations contained in paragraph 5 of the Motion.

        6.      Debtor admits the allegations contained in paragraph 6 of the Motion.
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       7.       Debtor denies the allegations contained in paragraph 7 of the Motion.

       8.       Debtor denies the allegations contained in paragraph 8 of the Motion.

       9.       Debtor denies the allegations contained in paragraph 9 of the Motion.

       10.      Debtor denies the allegations contained in paragraph 10 of the Motion.

       11.      Debtor denies the allegations contained in paragraph 11 of the Motion.

       12.      Debtor denies the allegations contained in paragraph 12 of the Motion.

       13.      Debtor denies the allegations contained in paragraph 13 of the Motion.

                WHEREFORE, PREMISES CONSIDERED, Debtors, Karim & Shirin Lalani

LLC, respectfully prays this Honorable Court enter an Order denying the Motion, and for such

other and further relief, at law or in equity, to which Debtor may show itself justly entitled.

                                                       Respectfully submitted,



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                                                       BY: /s/ Eric Liepins_____
                                                               ERIC A. LIEPINS, SBN 12338110


                                       CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Response was sent to
Cristine Platon Camarata, 400 S. McCline Parkway, Suite 900A, Houston, Texas 77060 on this
the 2nd day of October 2019.
                                                __/s/ Eric Liepins______
                                                Eric A. Liepins
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